
31 N.Y.2d 926 (1972)
In the Matter of Legislative Conference of the City University of New York, Appellant,
v.
Board of Higher Education of the City of New York, Respondent.
Court of Appeals of the State of New York.
Argued November 29, 1972.
Decided December 29, 1972.
Alan F. Perl, Stephen H. Sturm and Daniel Meyer for appellant.
Norman Redlich, Corporation Counsel (Mary P. Bass and Stanley Buchsbaum of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON.
Order affirmed, without costs. The offer of the Board as incorporated in the Appellate Division opinion appears to be a viable solution. Grievant would have one terminal year in the post of lecturer and the Board would be required to follow "established procedures" in re-evaluating the grievant. Thereupon, if grievant is found worthy of appointment to the faculty, benefits can be awarded to the grievant retroactively.
